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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

 AMAZON.COM, INC. and AMAZON
 DATA SERVICES, INC.,

       Plaintiffs,
 v.

 WDC HOLDINGS LLC dba                            CASE NO. 1:20-cv-484-LO-TCB
 NORTHSTAR COMMERCIAL
 PARTNERS; BRIAN WATSON;
 STERLING NCP FF, LLC; MANASSAS
 NCP FF, LLC; NSIPI
 ADMINISTRATIVE MANAGER;
 NOVA WPC LLC; WHITE PEAKS
 CAPITAL LLC; VILLANOVA TRUST;
 CASEY KIRSCHNER; ALLCORE
 DEVELOPMENT LLC; FINBRIT
 HOLDINGS LLS; CHESHIRE
 VENTURES LLC; CARLETON
 NELSON; and JOHN DOES 1-20,

       Defendants.


 800 HOYT LLC,

       Intervening Interpleader Plaintiff,
 v.

 BRIAN WATSON, WDC HOLDINGS
 LLC, PLW CAPITAL I, LLC, BW
 HOLDINGS, LLC, AMAZON.COM,
 INC,
 and AMAZON DATA SERVICES, INC.

       Interpleader Defendants.


            DEFENDANTS’ NOTICE OF INTENT TO FILE AN OBJECTION

       PLEASE TAKE NOTICE that Defendants Brian Watson, WDC Holdings, LLC, dba

 Northstar Commercial Partners, Sterling NCP FF, LLC, Manassas NCP FF, LLC, and NSIPI



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 Administrative Manager, LLC (collectively, “Defendants”), by and through their counsel, IFRAH

 PLLC and Brownstein Hyatt Farber Schreck, LLP, respectfully submit Defendants’ Notice of

 Intent to File an Objection (“Notice”) and notice the same for hearing, on or before Tuesday,

 December 21, 2021, pursuant to the Court’s December 14, 2021 Notice of Grounds for Judicial

 Disqualification. Defendants are filing this Notice because they advised the Court at the December

 15, 2021 scheduling conference that they would notify the Court by close of business Friday,

 December 17, 2021 as to whether they intended to object.

        On December 17, 2021, Mr. Casey Kirschner advised counsel for Defendants that he

 anticipates filing an objection. Likewise, counsel for Carleton Nelson and Cheshire Ventures LLC

 represented that his clients intend to file an objection.

 Dated: December 17, 2021               Respectfully submitted,

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                                        Counsel for Defendants Brian Watson, WDC Holdings,
                                        LLC dba Northstar Commercial Partners, Sterling NCP
                                        FF, LLC, Manassas NCP FF, LLC, and NSIPI
                                        Administrative Manager, LLC



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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 17, 2021, I will email the foregoing document to the
 known attorney of record for each other party. For those parties for whom counsel is not known, a
 true and correct copy of the foregoing document shall be served by U.S. mail to their last known
 address.

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                                      By: _s/ Jeffrey R. Hamlin____________________



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